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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA


IN RE: GENERIC PHARMACEUTICALS                               MDL2724
PRICING ANTITRUST LITIGATION                                 16-MD-2724

                                                             HON. CYNTHIA M. RUFE
THIS DOCUMENT RELATES TO:

ALL ACTIONS


                                  PRETRIAL ORDER NO. 31
                                   (SERVICE OF PROCESS)

       AND NOW, this 7th day of August 2017, upon consideration of the attached stipulation

of counsel, it is hereby ORDERED that the stipulation is APPROVED and that:

       1.      As to cases filed by all Plaintiffs (listed on Appendix A), the Stipulating

Defendants (listed on Appendix B) have agreed that service of process has been effected or is

waived in Individual Actions in the Lead Cases under which Defendants are listed on Appendix

B. All other defenses, including as to personal jurisdiction, are preserved.

       2.      Pretrial Order No. 19 (Deadlines for Responsive Pleadings) remains in effect.

       3.      All parties shall meet and confer and submit to the Court no later than August 29,

2017, a proposed order regarding acceptance of service of the Consolidated Amended

Complaints due to be filed in each Lead Case on August 15, 2017, or a proposed schedule to

resolve any disputes regarding acceptance of service.

        It is so ORDERED.

                                                     BY THE COURT:




                                                                A~.~, Jff. ~.
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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA


IN RE: GENERIC PHARMACEUTICALS                       MDLNo.2724
PRICING ANTITRUST LITIGATION                         16-MD-2724 ·



THIS DOCUMENT RELATES TO:                            THE HONORABLE CYNTIDA M. RUFE

ALL ACTIONS


                     JOINT STIPULATION AND fl'R;iP8!WIB 8MIH']
                            RE: ACCEPTANCE OF SERVICE
        This Stipulatio11 is entered into between all Plaintiffs listed in Plaintiffs' Notices of

Individual Actions filed pursuant to Pretrial Order No. 24, ECF 353 (collectively, "Plaintiffs")

and certain Defendants listed in Defendants' Notices of Defendants Listed in Any Individual

Case filed pursuant to Pretrial Order No. 24, ECF 353 (collectively, "Defendants," and together

with Plaintiffs, the "Parties"). The individual Plaintiffs are listed on Appendix A and the

individual Defendants that join in this Stipulation are listed on Appendix B.

        WHEREAS, Defendants listed on Appendix B, through their undersigned counsel, have

agreed to waive service of summons of the Complaints filed in Individual Actions in the Lead

Cases under which Defendants are listed on Appendix B to the extent that those Defendants

have not already been served; and

        WHEREAS, to reduce docketing congestion, the Parties agree that individual Waivers of

Service need not be obtained from Defendants listed on Appendix B for Individual Actions in the

Lead Case under which they are listed and no individu.al Plaintiff, whether listed in Appendix A

or not, need file individual Waivers of Service for those Defendants in each Individual Case (for

any Individual Case filed prior to the date of this Joint Stipulation); and
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        WHEREAS, the Parties agree to meet and confer and submit no later than August 29,

2017. a proposed order to the Court regarding acceptance of service of the Consolidated

Amended Complaints due to be filed in each Lead Case on August 15, 2017 or a proposed

schedule to resolve any disputes regarding acceptance of service;

        NOW, THEREFORE, pursuant to Local Rule 7.4, the undersigned Parties hereby

stipulate, and the Court orders, as follows:

        1.      Undersigned Defendants agree either that they have been properly served with

process of Complaints filed in Individual Actions in the Lead Cases under which Defendants are

listed on Appendix B or that they waive service of process of those Complaints under Rule 4(d)

of the Federal Rules of Civil Procedure, Defendants otherwis.e expressly reserve the right to

challenge the individual complaints and any consolidated or amended class action complaint, on

any and all grounds, including personal jurisdiction.

       2.       Defendants' time to move to dismiss, answer, or otherwise respond to the

Complaints was previously extended by Pretrial Order No. 19 (Deadlines for Responsive

Pleadings).

       3.       The Parties shall meet and confer and submit no later than August 29, 2017, a

proposed order to the Court regarding acceptance of service of the Consolidated Amended

Complaints due to be filed in each Lead Case on August 15, 2017 or a proposed schedule to

resolve any disputes regarding acceptance of service.
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       WHEREFORE, the Parties respectfully request that the Court enter this Stipulation as its

Order as set forth herein.

IT IS SO STIPULATED AND ORDERED.
Dated: August 4, 2017


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Case 2:16-md-02724-CMR Document 419 Filed 08/07/17 Page 5 of 15



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                            Defendants' ;Liaison Counsel



                             APPROVED BY THE COURT:




                             The Honorable Cynthia M. Rufe
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                                       APPENDIX A

In re: Albuterol Cases:

       FWK Holdings, LLC
       Self-Insured Schools of California
       UFCW Local 1500 Welfare Fund
       Philadelphia Federation of Teachers Health and Welfare Fund

In re: Amitriptyline Cases:

       KPH Healthcare Service, Inc. a/k/a Kinney Drugs, Inc.
       Fraternal Order of Police, Miami Lodge 20, Insurance Trust Fund

In re: Baclofen Cases:

       Rochester Drug Co-Operative, Inc.
       FWK Holdings, L.L.C.
       KPH Healthcare Services, Inc. a/k/a Kinney Drugs, Inc.
       International Union of Operating Engineers Local 30 Benefits Fund
       Plumbers & Pipefitters Local 178 Health & Welfare Trust Fund

In re: Benazepril HCTZ Cases:

       Rochester Drug Co-Operative, Inc.
       FWK Holdings L.L.C.
       KPH Healthcare Services, Inc. a/k/a Kinney Drugs, Inc.
       UFCW Local 1500 Welfare Fund

In re: Clobetasol Cases:

       KPH Healthcare Services, Inc., a/k/a Kinney Drugs, Inc.
       Louisiana Health Service Indemnity Company d/b/a Blue Cross and Blue Shield of
       Louisiana
       Sergeants Benevolent Association Health & Welfare Fund
       United Food and Commercial Workers Unions and Employers Midwest Health Benefits
       Fund
       A.F. of L. -A.G.C. Building Trades Welfare Plan
       UFCW Local 1500 Welfare Fund
       Plumbers & Pipefitters Local 178 Health & Welfare Trust Fund
       International Union of Operating Engineers Local 30 Benefits Fund
       St. Paul Electrical Workers' Health Plan
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In re: Clomipramine Cases:

       KPH Healthcare Services, Inc. a/k/a Kinney Drugs, Inc.
       Louisiana Health Service Indemnity Company d/b/a Blue Cross and Blue Shield of
       Louisiana
       Twin Cities Pipe Trades Welfare Fund
       Philadelphia Federation ofTeachers Health and Welfare Fund
       American Federation of State, County and Municipal Employees District Council 37
       Health & Security Plan
       Teamsters Local Union No. 727 Health & Welfare Fund
       NECA-IBEW Welfare Trust Fund

In re: Desonide Cases:

       KPH Healthcare Services, Inc. a/k/a Kinney Drugs, Inc.
       Louisiana Health Service Indemnity Company d/b/a Blue Cross and Blue Shield of
       Louisiana
       American Federation of State, County and Municipal Employees, District Council 47,
       Health and Welfare Fund
       Sergeants Benevolent Association Health & Welfare Fund
       UFCW Local 1500 Welfare Fund
       Plumbers & Pipefitters Local 178 Health & Welfare Trust Fund
       International Union of Operating Engineers Local 30 Benefits Fund
       St. Paul Electrical Workers' Health Plan

In re: Digoxin Cases:

      Louisiana Health Service Indemnity Company dlb/a Blue Cross an.d Blue Shield of
      Louisiana
      International Union of Operating Engineers Local 30 Benefits Fund
      NECA-IBEW Welfare Trust Fund
      Tulsa Firefighters Health and Welfare Trust
      Twin Cities Pipe Trades Welfare Fund
      Edward Carpinelli
      Fraternal Order of Police, Miami Lodge 20, Insurance Trust Fund
      Nina Diamond
      UFCW Local 1500 Welfare Fund
      Minnesota Laborers Health and Welfare Fund
      Philadelphia Federation of Teachers Health and Welfare Fund
      United Food & Commercial Workers and Employers Arizona Health and Welfare Trust
      Ottis Mccrary
      Plumbers & Pipefitters Local 33 Health and Welfare Fund
      Plumbers & Pipe:titters Local 178 Health& Welfare Trust Fund
      The City of Providence, Rhode Island
      Unite Here Health
      Valerie Velardi
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In re: Divalproex ER Cases: 1

        KPH Healthcare Services, Inc. a/k/a Kinney Drugs, Inc.
        Cesar Castillo, Inc.
        Louisiana Health Service Indemnity Company d/b/a Blue Cross and Blue Shield of
        Louisiana
        UFCW Local 1500 Welfare Fund
        Philadelphia Federation of Teachers Health and Welfare Fund
        Fraternal Order of Police, Miami Lodge 20, Insurance Trust Fund
        Twin Cities Pipe Trades Welfare Fund

In re: Doxycycline Cases:

       Louisiana Health Service Indemnity Company d/b/a Blue Cross and Blue Shield of
       Louisiana
       International Union of Operating Engineers Local 30 Benefits Fund
       NECA-IBEW Welfare Trust Fund
       Tulsa Firefighters Health and Welfare Trust
       Twin Cities Pipe Trades Welfare Fund
       Edward Carpinelli
       Fraternal Order of Police, Miami Lodge 20, Insurance Trust Fund
       Nina Diamond
       UFCW Local 1500 Welfare Fund
       Minnesota Laborers Health and Welfare Fund
       Philadelphia Federation of Teachers Health and Welfare Fund
       United Food & Commercial Workers and Employers Arizona Health and Welfare Trust
       Ottis McCrary
       Plumbers & Pipefitters Local 33 Health and Welfare Fund
       Plumbers & Pipefitters Local 178 Health & Welfare Trust Fund
       The City of Providence, Rhode Island
       Unite Here Health
       Valerie Velardi
       MSPA Claims I, LLC
       MAO-MSO Recovery LLC
       MAO-MSO Recovery II, LLC




1
  In the Divalproex ER Cases, the Court stayed all responsive dates in the then-pending cases,
including actions filed by plaintiffs Cesar Castillo, Inc. (16-6685) and Fraternal Order of Police,
Miami Lodge 20, Insurance Trust Fund (16-6668). See, e.g., Order, Civil Action No. 16-6668,
ECF 3. For plaintiffs Cesar Castillo, Inc. and Fraternal Order of Police, Miami Lodge 20,
Insurance Trust Fund, the parties agree that the 90 day period to perform service has passed, but
the parties stipulate that an extension under Rule 4(m) is appropriate due to the stay.
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In re: Econazole Cases:

       KPH Healthcare Services, Inc. a/k/a Kinney Drugs, Inc.
       Louisiana Health Service Indemnity Company d/b/a Blue Cross and Blue Shield of
       Louisiana
       UFCW Local 1500 Welfare Fund
       International Union of Operating Engineers Locals 302 and 612 Construction Industry
       Health and Security Fund
       Fraternal Order of Police, Miami Lodge 20, Insurance Trust Fund
       Detectives Endowment Association of the City of New York
       Philadelphia Federation of Teachers Health and Welfare Fund
       NECA-IBEW Welfare Trust Fund

In re: Fluocinonide Cases:

       KPH Healthcare Services, Inc. a/k/a Kinney Drugs, Inc.
       Louisiana Health Service Indemnity Company d/b/a Blue Cross and Blue Shield of
       Louisiana
       Sergeants Benevolent Association Health & Welfare Fund
       Plumbers & Pipefitters Local 178 Health & Welfare Trust Fund
       Phi.ladelphia Federal of Teachers Health and Welfare Fund

In re: Glyburide Cases:

       Rochester Drug Co-Operative, Inc.
       FWK Holdings, L.L.C.
       Louisiana Health Service Indemnity Company d/b/aBlue Cross and Blue Shield of
       Louisiana
       Falconer Pharmacy, Inc.
       International Union of Operating Engineers Locals 302 and 612 Construction Industry
       Health and Security Fund
       Fraternal Order of Police, Miami Lodge 20, Insurance Trust Fund
       MSPA Claims, I, LLC
       MAO-MSO Recovery LLC
       MAO-MSO Recovery II, LLC


In re: Levothyroxine Cases:

       KPH Healthcare Services, Inc. a/k/a Kinney Drugs, Inc.
       International Union of Operating Engineers Locals 302 and 612 Construction Industry
       Health and Security Fund
       Fraternal Order of Police, Miami Lodge 20, Insurance Trust Fund
       Philadelphia Federation of Teachers Health and Welfare Fund
       1199 SEID National Benefit Fund
       Plumbers & Pipefitters Local 178 Health & Welfare Trust Fund
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        American Federation of State, County and Municipal Employees District Council 37
        Health & Security Plan
        New York City, Local 246, S.E.I.U. Welfare Benefits Fund

In re: Lidocaine I Prilocaine Cases:

        Rochester Drug Co-Operative, Inc.
        FWK Holdings, L.L.C.
        KPH Healthcare, Inc. a/k/a Kinney Drugs, Inc.
        Louisiana Health Service Indemnity Company d/b/a Blue Cross and Blue Shield of
        Louisiana
        International Union of Operating Engineers Local 30 Benefits Fund
        UFCWLocal 1500 Welfare Fund

In re: Pravastatin Cases: 2

        KPH Healthcare Services, Inc. a/k/a Kinney Drugs, Inc.
        Cesar Castillo, Inc.
        Louisiana Health Service Indemnity Company d/b/a Blue Cross and Blue Shield of
        Louisiana
        A.F. ofL. -A.G.C. Building Trades Welfare Plan
        UFCWLocal 1500 Welfare Fund
        Philadelphia Federation of Teachers Health and Welfare Fund
        Laborers International Union of North America Local 35 Health Care Fund
        Plumbers & Pipefitters Local 178 Health and Welfare Trust
        Fraternal Order of Police, Miami Lodge 20, Insurance Trust Fund
        Detectives Endowment Association of The City of New York
        Robby Johnson

In re: Propranolol Cases:

       KPH Healthcare Services, Inc. a/k/a Kinney Drugs, Inc.
       Louisiana Health Service Indemnity Company d/b/a Blue Cross and Blue Shield of
       Louisiana
       Plumbers & Pipefitters Local 178 Health & Welfare Trust Fund
       Fraternal Order of Police, Miami Lodge 20, Insurance Trust Fund

2
  In the Pravastatin Cases, the Court entered an Order staying all actions on February 16, 2017,
including the actions filed by plaintiffs Cesar Castillo, Inc. (16-6699), Fraternal Order of Police,
Miami Lodge 20, Insurance Trust Fund (16-6667), Philadelphia Federation of Teachers Health
and Welfare Fund (16-6321), and Plumbers and Pipefitters Local 178 Health and Welfare Trust
(16-6421). See, e.g., Order, Civil Action No. 16-cv-5056-TON, ECF 44. For plaintiffs Cesar
Castillo, Inc., Philadelphia Federation of Teachers Health and Welfare Fund, Plumbers and
Pipefitters Local 178 Health and Welfare Trust, and Fraternal Order of Police, Miami Lodge 20,
Insurance Trust Fund, the parties agree that the 90 day period to perform service has passed, but
the parties stipulate that an extension under Rule 4(m) is appropriate due to the stay.
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       Philadelphia Federation of Teachers Health & Welfare Fund
       UFCW Local 1500 Welfare Fund
       Sergeants Benevolent Association Health & Welfare Fund
       American Federation of State, County and Municipal Employees District Council 37
       Health & Security Plan

In re: Ursodiol Cases:

       KPH Healthcare Services, Inc. a/k/a Kinney Drugs, Inc.
       Louisiana Health Service Indemnity Company d/b/a Blue Cross and Blue Shield of
       Louisiana
       Fraternal Order of Police, Miami Lodge 20, Insurance Trust Fund
       NECA-IBEW Welfare Trust Fund
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                                           APPENDIXB

In re: Albuterol Cases:

       Mylan Pharmaceuticals, Inc.
       Mylan, Inc.
       Sun Pharmaceutical Industries, Inc.

In re: Amitriptyline Cases:
        Mylan Pharmaceuticals, Inc.
        Mylan Inc.
        Par Pharmaceuticals, Inc.
        Sandoz Inc.

In re: Baclofen Cases:

       Lannett Company, Inc.
       Par Pharmaceuticals Inc.
       Teva Pharmaceuticals USA, Inc.
       Upsher-Smith Laboratories, LLC

In re: Benazepril Cases:

       Mylan Pharmaceuticals, Inc.
       Mylan Inc.
       Sandoz Inc.

In re: Clobetasol Cases:

       Akom, Inc.
       Fougera Pharmaceuticals Inc.
       Hi-Tech Pharmacal Co., Inc.
       Morton Grove Pharmaceuticals Inc.
       Perrigo New York, Inc.
       Sandoz Inc.
       Taro Pharmaceuticals U.S.A., Inc.
       Wockhardt USA LLC

In re: Clomipramine Cases:

       Mylan Pharmaceuticals, Inc.
       Mylan Inc.
       Sandoz Inc.
       Taro Pharmaceuticals U.S.A., Inc.
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In re: Desonide Cases:

        Actavis Holdco U.S., Inc.
        Fougera Pharmaceuticals Inc.
        Perrigo New York, Inc.
        Sandoz Inc.
        Taro Pharmaceuticals U.S.A., Inc.

In re: Digoxin Cases:

       Impax Laboratories, Inc.
       Lannett Company, Inc.
       Mylan Inc.
       Mylan Pharmaceuticals, Inc.
       Mayne Pharma Inc. 3
       Par Pharmaceuticals, Inc.
       Sun Pharmaceutical Industries, Inc.
       West-Ward Pharmaceuticals Corp.

In re: Divalproex Cases:

       Aurobindo Pharma USA, Inc.
       Dr. Reddy's Laboratories, Inc.
       Morton Grove Pharmaceuticals Inc.
       Mylan Pharmaceuticals, Inc.
       Mylan Inc.
       Par Pharmaceutical, Inc.
       Zydus Pharmaceuticals (USA), Inc.

In re: Doxycycline Cases:

       Actavis Holdco U.S., Inc.
       Heritage Pharmaceuticals Inc.
       Lannett Company, Inc.
       Mylan Inc.
       Mylan Pharmaceuticals, Inc.
       Mayne Pharma Inc. 1
       Par Pharmaceuticals, Inc.
       Sun Pharmaceutical Industries, Inc.
       West-Ward Pharmaceuticals Corp.




3
 Counsel for Mayne Pharma Inc. has represented that Mayne Pharma USA, Inc. does not exist
and should not have been named as a defendant in these actions, It is thus accepting service on
behalf of the correct entity.
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In re: Econazole Cases:

        Fougera Pharmaceuticals Inc.
        Perrigo New York, Inc.
        Sandoz Inc.
        Taro Pharmaceuticals U.S.A., Inc.
        Teligent, Inc.

In re: Fluocinonide Cases:

       Actavis Holdco U.S., Inc.
       Fougera Pharmaceuticals Inc.
       Sandoz Inc.
       Taro Pharmaceuticals U.S.A., Inc.
       Teva Pharmaceuticals USA, Inc.

In re: Glyburide Cases:

       Aurobindo Pharma, USA, Inc.
       Citron Pharma, LLC
       Heritage Pharmaceuticals Inc.
       Mayne Pharma Inc. 4
       Teva Pharmaceuticals USA, Inc.

In re: Levothyroxine Cases:

       Lannett Company, Inc.
       Mylan Pharmaceuticals, Inc.
       Sandoz Inc.

In re: Lidocaine/Prilocaine Cases:

       Actavis Holdco U.S., Inc.
       Akorn, Inc.
       Fougera Pharmaceuticals Inc.
       Hi-TechPharmacal Co., Inc.
       Impax Laboratories, Inc.
       Sandoz Inc.

In re: Pravastatin Cases:

       Actavis Holdco U.S., Inc.


4
 Counsel for Mayne Pharma Inc. has represented that Mayne Pharma USA, Inc. does not exist
and should not have been named as a defendant in these actions. It is thus accepting service on
behalf of the correct entity.
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       Apotex Corp.
       Glenmark Pharmaceuticals USA, Inc.
       Lupin Pharmaceuticals, Inc.
       Mylan Pharmaceuticals, Inc.
       Mylan Inc.
       Sandoz Inc.
       Teva Pharmaceuticals USA, Inc.
       Zydus Pharmaceuticals (USA) Inc.

In re: Propranolol Cases:

       Actavis Elizabeth, LLC
       Actavis Holdco U.S., Inc.
       Breckenridge Pharmaceutical, Inc.
       Heritage Pharmaceuticals Inc.
       Mylan Pharmaceuticals, Inc.
       Mylan Inc.
       Par Pharmaceutical Inc.
       Pliva, Inc.
       Teva Pharmaceuticals USA, Inc.
       UDL Laboratories, Inc.
       Upsher-Smith Laboratories, LLC

In re: Ursodiol Cases:

       Actavis Holdco U.S., Inc.
       Epic Pharma, LLC
       Lannett Company, Inc.
